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AO 245B (CASDRev. 08113) Judgment in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                             13 AUG 29 PH 3= 08
            UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE ,: e"::;;;
                                  V.                               (For Offenses Committed On or After November'l ,1c}871~· ',' :
                    JOSE ORTEGA (21)                                                                                                P'V""
                                                                      Case Number:           12CR0236-IEG                        DPLITY


                                                                   BRIAN FUNK
                                                                   Defendant's Attorney
REGISTRATION NO.                  30288298
181 pleaded guilty to count( s)          one, two and seven of the superseding indictment.

Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s);
                                                                                                                        Count
Title & Section                    Nature of Offense                                                                   Numberlsl
18 U.S.C. § 1962(d)                Conspiracy to Conduct Enterprise Affairs Through a Pattern                             1
                                   of Racketeering Activity
21 U.S.C. §§ 841(a)(l),            Conspiracy to Distribute Cocaine                                                          2
841 (b)(1 )(A)(vii),
841(b)(I)(B)(ii) and 846
18 U.S.C § 924 (c) (1)                 Possession of a Firearm in Relation to a Drug-Trafficking                             7
(A), and 2 and Pinkerton               Offense.
v. United States, 328
U.S. § 640 (1946)
     The defendant is sentenced as provided in pages 2 through               4             of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
I8l Count(s)     remaining and underlying indictment                        are           dismissed on the motion of the United States.

I8l   Assessment: $300.00 waived ($100.00 as to each count)_



I8l Fine waived            0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                    August 19.2013
                                                                    Date of Imposition of Sentence



                                                                    HON. Irma E. Gonzalez
                                                                    UNITED STATES DISTRICT JU




                                                                                                                        12CR0236-IEG
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                                                IMPRISONMENT
The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of:
One hundred and twenty (120) months as to counts 1 and 2 to run concurrent and sixty (60) months as to count 7 to run
consecutive to counts 1 and 2 for a total of 180 months.




o     Sentence imposed pursuant to Title 8 USC Section 1326(b).
I8l   The court makes the following recommendations to the Bureau of Prisons:
          Participation in the Residential Drug Abuse Program (RDAP).




o     The defendant is remanded to the custody of the United States Marshal.

o     The defendant shall surrender to the United States Marshal for this district:
           at
                ------------------ A.M.                      on
                                                                  -------------------------------------
           as notified by the United States MarshaL

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o     Prisons:
           on or before
           as notified by the United States MarshaL
           as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

      Defendant delivered on
                               -------------------------- to ------------------------------
at _____________ , with a certified copy of this judgment.


                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL



                                                                                                        12CR0236-IEG
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    DEFENDANT:                    JOSE ORTEGA (21)                                                                             Judgment - Page 3 of 4
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
Five (05) years as to count 1 and count 2 to run concurrently.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(aX7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule
     of Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)   the defendant shall not leave the judicial district without the pennission of the court or probation officer;
     2)   the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)   the defendant shall support his or her dependents and meet other family responsibilities;
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
          reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
          any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
          unless granted pennission to do so by the probation officer;
     10) the defendant shall pennit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any contraband
          observed in plain view ofthe probation officer;
     I I) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the pennission of
          the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
          personal history or characteristics and shall penn it the probation officer to make such notifications and to confinn the defendant's compliance
          with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION


     1. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

     2. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer
        at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or
        evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.


     3. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information
        between the probation officer and the treatment provider. May be required to contribute to the costs of
        services rendered in an amount to be determined by the probation officer, based on ability to pay.


     4. Shall not associate with any known probationer, parolee, or gang member, including but not limited to
        any Diablos affiliate, or anyone specifically disapproved by the probation officer.

     5. As directed by the probation officer, the offender shall not be present in any gang gathering areas or any
        area known to be a location where gang members meet or assemble.


     6. Shall not possess, wear, use or display, or have in his possession any item associated with gang dress, or
        any item prohibited by the probation officer, including but not limited to any insignia, emblem, button,
        badge, cap, hat, scarf, bandanna, or any article of clothing, hand sign or paraphernalia associated with
        membership of affiliation in any gang including, but not limited to, Diablos.


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